     Case 3:19-cv-01176-JLS-KSC Document 18 Filed 04/22/20 PageID.98 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   CHARLES LERCHER, an individual,                 Case No.: 19CV1176-JLS(KSC)
12                                Plaintiff,
                                                     ORDER RESETTING STATUS
13   v.                                              CONFERENCE AND MODIFYING
                                                     CONFERENCE CALL
14   WYNDHAM SAN DIEGO BAYSIDE, an
                                                     INSTRUCTIONS
     unknown business entity; WYNDHAM
15
     HOTELS & RESORTS, INC., a Delaware
16   corporation,
17                               Defendants.
18
19         The Status Conference on May 8, 2020 is moved from 11:00 a.m to 11:30 a.m.
20   Counsel must call the Court’s teleconference line at 1-877-873-8017, enter the access code
21   2924630 and press “*” when prompted for a security code
22         IT IS SO ORDERED.
23   Dated: April 22, 2020
24
25
26
27
28

                                                 1
                                                                               19CV1176-JLS(KSC)
